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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

IN THE MATTER OF:                                      CASE NO. 6:14-bk-07578-KSJ
DUDLEYS HERRERA                                        CHAPTER 13

       Debtor,
________________________________/


     ORDER GRANTING VERIFIED MOTION TO VALUE AND DETERMINE SECURED
                STATUS OF LIEN ON REAL PROPERTY HELD BY
                  DEUTSCHE BANK NATIONAL TRUST, D.E. #29

       THIS CASE came to be heard on January 6, 2015, on the Debtor’s Verified Motion to Value and

Determine Secured Status of Lien on Real Property held by DEUTSCHE BANK NATIONAL TRUST

(Docket Entry #29; the “Motion”). Based upon the Debtor’s assertions made in support of the Motion,

without objection being heard at the aforementioned hearing, having considered the record in this case,

and being duly advised in the premises, the Court FINDS as follows:
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A. The value of Debtor’s real property (the “Real Property”) located at 1010 Sal St, Ocoee, FL

     34761 more particularly described as

       Legal Description: Lot 35, NANCY ANN WOODS, according to the Plat thereof as
recorded in Plat Book 10, Page 116, Public Records of Orange County, Florida

        is $62,000.00 at the time of filing of this case.

B.      The total of all claims secured by liens on the Real Property senior to the lien of Deutsche

        Bank National Trust (the “Lender”) is $0.00.



Consequently, it is ORDERED as follows:

1.      The motion is GRANTED.

2.      Lender has an allowed secured claim of $62,000.00.

3.      Because Lender’s secured interest in the Real Property is $0, Lender’s mortgage recorded

        on July 24, 2006 at Book 08768 Page 1082 in the official records of Orange County,

        Florida, shall be deemed void and shall be extinguished automatically, without further

        order of the Court, upon entry of the debtor’s discharge in this chapter 13 case. If this

        case is converted to a case under any other chapter or if the chapter 13 case is dismissed,

        Lender’s mortgage will no longer be considered void and shall be restored as a lien on the

        Real Property.



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         DONE and ORDERED on January 16, 2015.



                                                            -------------------------------------------
                                                            Karen S. Jennemann
                                                            Chief Bankruptcy Court Judge
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Submitted By:

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Attorney for debtor is directed to serve a conformed copy of this Order on all interested parties
immediately upon receipt hereof and to file a certificate of service.
